                     IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION
IN RE RICHARD M. OSBORNE                            CASE NO. 17-17361
                  Debtor                            CHAPTER 11
                                                    JUDGE ARTHUR I. HARRIS

 OBJECTION TO MOTION FOR ORDER UPON THE DEBTOR, RICHARD M. OSBORNE, TO APPEAR
 FOR EXAMINATION PURSUANT TO RULE 2004(A) OF THE FEDERAL RULES OF BANKRUPTCY
                      PROCEDURE AND REQUEST FOR HEARING
       Richard M. Osborne, Debtor in Possession (“Debtor”) opposes the Motion for Order

upon the Debtor, Richard M. Osborne, to Appear for Examination Pursuant to Rule 2004(A) of

the Federal Rules of Bankruptcy Procedure [Doc. 168] filed by the Chicago Title Insurance

Company (“CT”) and requests that the Court set a hearing on the same.

1. The CT Motion seeks to have the Debtor collect and turn over records regarding some 192

entities (most of which are not in bankruptcy) without properly notifying those entities of the

request. The Motion seeks to conflate the Debtor and these companies without first overcoming

their separate legal existence in a proper proceeding.

2. In particular the Motion seeks information on “Documentation regarding the value of the

following entities and the assets held or owned by such entities: Junior Properties, Ltd., Orwell-

Trumbull Pipeline Co., LLC, Chowder Gas Storage Facility, LLC, Lake Shore Gas Storage, Inc.,

Heisley Hopkins, Inc., Black Bear Realty, Ltd., and Hamilton Partners, Inc.”

3. Chowder Gas Storage Facility, LLC and Lake Shore Gas Storage, Inc. are debtors in their

own Chapter 11 cases and if CT needs information on their assets, proper motion should be made

in those cases and not in this case.

4. Junior Properties, Ltd., Orwell-Trumbull Pipeline Co., LLC, Heisley Hopkins, Inc., Black

Bear Realty, Ltd., and Hamilton Partners, Inc., are all under the control of the receiver Zak

Burkons in state court. As this Court knows the Debtor was already sanctioned for allegedly



                                              -1-

17-17361-aih      Doc 171     FILED 06/13/18        ENTERED 06/13/18 13:27:31          Page 1 of 3
interfering with those receiverships and has no desire to repeat that experience. Furthermore it is

doubtful whether the Court has jurisdiction over those companies’ records, and if CT needs

information on their assets, proper motion should be made in those receivership cases and not in

this case.

        5.     . Finally the Motion seeks to examine the Debtor on July 20, 2018 when

undersigned counsel is away from the office.

        Therefore, the Debtor respectfully requests that this Court hold a hearing on the Motion

and deny those portions of the requested examination that seek information from entities not

parties to this bankruptcy case without proper service, and directing CT to proceed in other

bankruptcy cases or in state court as may be appropriate for those entities in their own

bankruptcy case or receivership, and require that the exam take place on a date mutually

acceptable to CT and the Debtor.

                                               Respectfully submitted,
                                               /s/ Frederic P. Schwieg, Esq.
                                               Frederic P. Schwieg, Esq. (0030418)
                                               Attorney at Law
                                               2705 Gibson Dr
                                               Rocky River, OH 44116
                                               (440) 499-4506
                                               Fax: (440) 398-0490
                                               fschwieg@schwieglaw.com
                                               Attorney for Richard M. Osborne




                                               -2-

17-17361-aih     Doc 171     FILED 06/13/18          ENTERED 06/13/18 13:27:31         Page 2 of 3
                                           CERTIFICATE OF SERVICE

I hereby certify that a copy of this Response was electronically transmitted on or about the date filed via the Court’s
CM/ECF system to the following who are listed on the Court’s Electronic Mail Notice list or was served by U.S.
mail, postage prepaid, or certified mail on the persons below as indicated below.
Electronic Mail Notice List
Gregory P. Amend on behalf of Creditor First National Bank of Pennsylvania
gamend@bdblaw.com, grichards@bdblaw.com

Adam S. Baker on behalf of Creditor Michael E. Osborne, Sr.
abakerlaw@sbcglobal.net, adam@bakerlaw.us;abakerlaw@gmail.com

Robert D. Barr on behalf of Creditor Chicago Title Insurance Company
rbarr@koehler.law, rbarr@koehler.law

David T. Brady on behalf of Creditor Tax Ease Ohio, LLC
DBrady@Sandhu-Law.com, bk1notice@sandhu-law.com

Christopher J. Klym on behalf of Creditor Ohio Department of Taxation
bk@hhkwlaw.com

Matthew H. Matheney on behalf of Creditor First National Bank of Pennsylvania
mmatheney@bdblaw.com, bhajduk@bdblaw.com

Timothy P. Palmer on behalf of Creditor The Huntington National Bank
timothy.palmer@bipc.com, donna.curcio@bipc.com

John J. Rutter on behalf of Creditor Concord Lumber & Supply Co.
jrutter@ralaw.com

Frederic P. Schwieg on behalf of Debtor Richard M. Osborne
fschwieg@schwieglaw.com

Michael J. Sikora, III on behalf of Creditor Chicago Title Insurance Company
msikora@sikoralaw.com, aarasmith@sikoralaw.com;mtroha@sikoralaw.com

Nathaniel R. Sinn on behalf of Creditor First National Bank of Pennsylvania
nsinn@bdblaw.com, kslatinsky@bdblaw.com

Andrew M. Tomko on behalf of Creditor Tax Ease Ohio, LLC
atomko@sandhu-law.com, bk1notice@sandhu-law.com

Jeffrey C. Toole on behalf of Interested Party Zachary B Burkons
toole@buckleyking.com, young@buckleyking.com;heberlein@buckleyking.com

Michael S. Tucker on behalf of Creditor Citizens Bank, N.A.
mtucker@ulmer.com

Maria D. Giannirakis ust06 on behalf of U.S. Trustee United States Trustee
maria.d.giannirakis@usdoj.gov

Scott R. Belhorn ust35 on behalf of U.S. Trustee United States Trustee
Scott.R.Belhorn@usdoj.gov
                                                              /s/ Frederic P. Schwieg
                                                              Frederic P. Schwieg




                                                        -3-

17-17361-aih         Doc 171        FILED 06/13/18            ENTERED 06/13/18 13:27:31                 Page 3 of 3
